                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                           )
                                                    )      Case No. 1:10-cr-34
 vs.                                                )               1:11-cr-82
                                                    )      JUDGE COLLIER
 DALOPHEAL TAYLOR                                   )



                               MEMORANDUM AND ORDER

         DALOPHEAL TAYLOR (“Supervised Releasee”) appeared for an initial appearance
 before the undersigned on September 9, 2013, in accordance with Rule 32.1 of the Federal Rules
 of Criminal Procedure on the Petition for Warrant for Offender Under Supervision (“Petition”).
 Those present for the hearing included:

               (1) An Assistant United States Attorney for the Government.
               (2) The Supervised Releasee.
               (3) Attorney Gianna Maio for defendant.

        After being sworn in due form of law, the Supervised Releasee was informed or
 reminded of his privilege against self-incrimination accorded him under the 5th Amendment to
 the United States Constitution.

         It was determined the Supervised Releasee wished to be represented by an attorney and
 he qualified for the appointment of an attorney to represent him at government expense.
 Federal Defender Services of Eastern Tennessee, Inc. was APPOINTED to represent the
 defendant. It was determined the Supervised Releasee had been provided with a copy of the
 Petition and the Warrant for Arrest and had the opportunity of reviewing those documents with
 his attorney. It was also determined he was capable of being able to read and understand the
 copy of the aforesaid documents he had been provided

        The Supervised Releasee waived his right to a preliminary hearing and detention hearing.

        The Government moved the Supervised Releasee be detained pending a hearing to
 determine whether his term of supervision should be revoked.

                                            Findings

        (1) Based upon the Petition and Supervised Releasee=s waiver of preliminary
        hearing and detention hearing, the undersigned finds there is probable cause to
        believe the Supervised Releasee has committed violations of his conditions of

                                               1



Case 1:10-cr-00034-TRM-CHS         Document 507         Filed 09/10/13    Page 1 of 2     PageID
                                         #: 2362
       supervised release as alleged in the petition.

                                           Conclusions

       It is ORDERED:

       (1) The Supervised Releasee shall appear in a revocation hearing before U.S.
       District Judge Curtis L. Collier.

       (2) The motion of the Government that defendant be DETAINED WITHOUT
       BAIL pending his revocation hearing before Judge Collier is GRANTED.

       (3) The U.S. Marshal shall transport the Supervised Releasee to a revocation
       hearing before Judge Collier on Thursday, October 10, 2013, at 2:00 pm.

       ENTER.

                                              SBj|ÄÄ|tÅ UA `|àv{xÄÄ VtÜàxÜ
                                              UNITED STATES MAGISTRATE JUDGE




                                                 2



Case 1:10-cr-00034-TRM-CHS          Document 507         Filed 09/10/13   Page 2 of 2   PageID
                                          #: 2363
